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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

HERCULES OFFSHORE, INC,, et al. Case No. 15-11685 (KIO

Debtors.’ Joint Administration Requested

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Re: DL 8, 46 68, 17

FINAL ORDER AUTHORIZING, BUT NOT
DIRECTING, THE DEBTORS TO PAY CERTAIN TAXES

 

Upon the Motion’ of the above-captioned debtors and debtors in possession (collectively, the
“Debtors”), for entry of this Final Order pursuant to Bankruptcy Code sections 363(b), 507(a)(8),
and 541(d), and Bankruptcy Rules 6003, 6004(a), and 6004(h) (a) authorizing, but not directing, the
Debtors to remit and pay certain Taxes, regardless of whether they accrued or arose before the
Petition Date, in the ordinary course of business, to the extent necessary to prevent immediate and
irreparable harm to the Debtors and their estates, all as more fully set forth in the Motion; and the
Court having entered the Interim Order captioned Interim Order Authorizing, but not Directing, the
Debtors to Pay Certain Taxes [Docket No. _]; and the Court having jurisdiction to consider the
Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334; and
consideration of the Motion and the relief requested therein being a core proceeding in accordance
with 28 U.S.C. § 157(b){1); and venue being proper in this District pursuant to 28 U.S.C. §§ 1408
and 1409; and due and proper notice of the Motion being adequate and appropriate under the
particular circumstances; and the Court having held the Final Hearing to consider the relief

requested in the Motion; and upon the First Day Declaration, the record of the Final Hearing, and all

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification

number, are: Cliffs Drilling Company (8934); Cliffs Drilling Trinidad L.L.C. (5205); FDT LLC (7581); FDT
Holdings LLC (4277); Hercules Drilling Cormpany, LLC (2771), Hercules Liftboat Company, LLC (0791); Hercules
Offshore, Inc. (2838); Hercules Offshore Services LLC (1670); Hercules Offshore Liftboat Company LLC (5303),
HERO Holdings, Inc. (5475); SD Drilling LLC (8190), THE Offshore Drilling Company (4465), THE Onshore
Drilling Company (1072); TODCO Americas Inc, (0289); and TODCO International Inc. (6326).

All capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.

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proceedings had before the Court; and the Court having found and determined that the relief sought
in the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in
interest and that the legal and factual bases set forth in the Motion establish just cause for the relief
granted herein; and any objections to the requested relief having been withdrawn or overruled on the

merits; and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED:

1. The Motion is granted on a final basis to the extent provided herein.
2. The relief provided in the Interim Order is approved on a final basis.
3. The Debtors are authorized, but not directed, to pay and remit Taxes to the

Authorities in the ordinary course of business and in a reasonable exercise of the Debtors’ business
judgment, upon consultation with the Steering Group, without regard to whether such amounts
accrued or arose before or after the Petition Date.

4, Notwithstanding the relief granted in this Order and any actions taken pursuant to
such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any
prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ right to dispute any prepetition
claim on any grounds; (c) a promise or requirement to pay any prepetition claim; (d) an implication
or admission that any particular claim is of a type specified or defined in this Order or the Motion;
(e) a request or authorization to assume any prepetition agreement, contract, or lease pursuant to
section 365 of the Bankruptcy Code; or (f) a waiver of the Debtors’ rights under the Bankruptcy
Code or any other applicable law.

5. The banks and financial institutions on which checks were drawn or electronic
payment requests made in payment of the prepetition obligations approved herein are authorized to
receive, process, honor, and pay all such checks and electronic payment requests when presented for

payment, and all such banks and financial institutions are authorized to rely on the Debtors’

 
 

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designation of any particular check or electronic payment request as being approved by this Final
Order.

6. Notice of the Motion as provided therein shall be deemed good and sufficient, and
the requirements of Bankruptcy Rule 6004(a) and the Local Bankruptcy Rules are satisfied by such
notice.

7. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062, 9014,
or otherwise, this Final Order shall be immediately effective and enforceable upon its entry.

8. The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Final Order in accordance with the Motion.

9, The Court retains jurisdiction with respect to all matters arising from or related to the
interpretation or implementation of this Final Order.

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